Case 2:19-cv-00152-JRG Document 129 Filed 07/13/20 Page 1 of 5 PageID #: 3773


                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


SOLAS OLED LTD.,                                §
                                                §
          Plaintiff,                            §
                                                §
         v.                                     §
                                                §
                                                            Case No. 2:19-CV-00152-JRG
SAMSUNG DISPLAY CO., LTD.,                      §
SAMSUNG ELECTRONICS CO., LTD, and               §
SAMSUNG ELECTRONICS AMERICA,                    §
INC.,                                           §

          Defendants.

                          THIRD AMENDED DOCKET CONTROL ORDER

         It is hereby ORDERED that the following schedule of deadlines is in effect until further

order of this Court:

    Original Deadline    New                     Event
                         Deadline
    October 5, 2020      October 5, 2020         *Jury Selection – 9:00 a.m. in Marshall, Texas

    September 8, 2020    September 8, 2020       *Pretrial Conference – 9:00 a.m. in Marshall,
                                                 Texas before Judge Rodney Gilstrap

    September 4, 2020    September 4, 2020       *Notify Deputy Clerk in Charge regarding the
                                                 date and time by which juror questionnaires
                                                 shall be presented to accompany by jury
                                                 summons if the Parties desire to avail
                                                 themselves the benefit of using juror
                                                 questionnaires 1




1
 The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in
Advance of Voir Dire.
Case 2:19-cv-00152-JRG Document 129 Filed 07/13/20 Page 2 of 5 PageID #: 3774




 August 31, 2020     August 31, 2020      *Notify Court of Agreements Reached During
                                          Meet and Confer

                                          The parties are ordered to meet and confer on
                                          any outstanding objections or motions in limine.
                                          The parties shall advise the Court of any
                                          agreements reached no later than 1:00 p.m. three
                                          (3) business days before the pretrial conference.

 August 31, 2020     August 31, 2020      *File Joint Pretrial Order, Joint Proposed Jury
                                          Instructions, Joint Proposed Verdict Form,
                                          Responses to Motions in Limine, Updated
                                          Exhibit Lists, Updated Witness Lists, and
                                          Updated Deposition Designations

 September 4, 2020   September 4, 2020    *File Notice of Request for Daily Transcript or
                                          Real Time Reporting.

                                          If a daily transcript or real time reporting of
                                          court proceedings is requested for trial, the party
                                          or parties making said request shall file a notice
                                          with the Court and e-mail the Court Reporter,
                                          Shelly                 Holmes,                   at
                                          shelly_holmes@txed.uscourts.gov.

 August 24, 2020     August 24, 2020      File Motions in Limine

                                          The parties shall limit their motions in limine to
                                          issues that if improperly introduced at trial
                                          would be so prejudicial that the Court could not
                                          alleviate the prejudice by giving appropriate
                                          instructions to the jury.

 August 24, 2020     August 24, 2020      Serve Objections         to   Rebuttal     Pretrial
                                          Disclosures

 August 17, 2020     August 17, 2020      Serve Objections to Pretrial Disclosures; and
                                          Serve Rebuttal Pretrial Disclosures

 August 3, 2020      August 3, 2020       Serve Pretrial Disclosures (Witness List,
                                          Deposition Designations, and Exhibit List) by
                                          the Party with the Burden of Proof




                                         -2-
Case 2:19-cv-00152-JRG Document 129 Filed 07/13/20 Page 3 of 5 PageID #: 3775




    July 27, 2020        August 3, 2020           *Response to Dispositive Motions (including
                                                  Daubert Motions). Responses to dispositive
                                                  motions that were filed prior to the dispositive
                                                  motion deadline, including Daubert Motions,
                                                  shall be due in accordance with Local Rule CV-
                                                  7(e), not to exceed the deadline as set forth in
                                                  this Docket Control Order. 2 Motions for
                                                  Summary Judgment shall comply with Local
                                                  Rule CV-56.

    July 13, 2020        July 20, 2020            *File Motions to Strike Expert Testimony
                                                  (including       Daubert        Motions)

                                                  No motion to strike expert testimony (including
                                                  a Daubert motion) may be filed after this date
                                                  without leave of the Court.

    July 13, 2020        July 20, 2020            *File Dispositive Motions

                                                  No dispositive motion may be filed after this
                                                  date without leave of the Court.

                                                  Motions shall comply with Local Rule CV-56
                                                  and Local Rule CV-7. Motions to extend page
                                                  limits will only be granted in exceptional
                                                  circumstances.     Exceptional circumstances
                                                  require more than agreement among the parties.

    July 10, 2020        July 30, 2020            Complete deposition of Dr. Adam Fontecchio
(*) indicates a deadline that cannot be changed without showing good cause. Good cause is
not shown merely by indicating that the parties agree that the deadline should be changed.

                               ADDITIONAL REQUIREMENTS

        Mediation: While certain cases may benefit from mediation, such may not be appropriate
for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
mediation within fourteen days of the issuance of the Court’s claim construction order. As a

2
  The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to
oppose a motion in the manner prescribed herein creates a presumption that the party does not
controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”
If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive
Motions, the deadline for Response to Dispositive Motions controls.



                                                -3-
Case 2:19-cv-00152-JRG Document 129 Filed 07/13/20 Page 4 of 5 PageID #: 3776



part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
the Parties should set forth a brief statement of their competing positions in the Joint Notice.

        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
business days after briefing has completed. For expert-related motions, complete digital copies of
the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
than the dispositive motion deadline.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules’ normal page limits.

       Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
“[o]n the first appearance through counsel, each party shall designate a lead attorney on the
pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the
Court an Order granting leave to designate different lead counsel.

        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:
(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
       unless the other setting was made prior to the date of this order or was made as a special
       provision for the parties in the other case;

(c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
       was impossible to complete discovery despite their good faith effort to do so.

       Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
include a proposed order that lists all of the remaining dates in one column (as above) and the
proposed changes to each date in an additional adjacent column (if there is no change for a date
the proposed date column should remain blank or indicate that it is unchanged). In other words,
the DCO in the proposed order should be complete such that one can clearly see all the remaining
deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
version of the DCO.

       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”



                                                -4-
Case 2:19-cv-00152-JRG Document 129 Filed 07/13/20 Page 5 of 5 PageID #: 3777




      So Ordered this
      Jul 10, 2020




                                    -5-
